Case: Case
      21-1135    Document: 00117824768
           2:16-cv-00053-LEW             Page:
                               Document 181    1 12/23/21
                                            Filed Date Filed: 12/22/2021
                                                           Page            Entry#:ID:
                                                                 1 of 2 PageID        6467366
                                                                                   1576




                      United States Court of Appeals
                                        For the First Circuit
                                           _____________________

      No. 21-1135

                                    LAWRENCE ROLAND OUELLETTE,

                                               Plaintiff - Appellee,

                                                        v.

           ROGER BEAUPRE, in his official capacity as Chief of Police for the Biddeford Police
                 Department and in his individual capacity; CITY OF BIDDEFORD,

                                            Defendants - Appellants,

                                            NORMAN GAUDETTE,

                                                  Defendant.
                                             __________________

                                                      Before

                                           Howard, Chief Judge,
                                      Thompson and Gelpí, Circuit Judges.
                                           __________________

                                                  JUDGMENT

                                          Entered: December 22, 2021

              Having reviewed the response by defendant-appellants Roger Beaupre and the City of
      Biddeford to this court's March 31, 2021 Order to Show Cause, we conclude that we lack
      jurisdiction over the appeal.

              As an initial matter, we note that appellants fail to differentiate the personal-capacity claims
      against Beaupre from the official-capacity and municipal claims against Beaupre and the City, and
      they assert broadly that they are entitled to summary judgment on qualified immunity grounds.
      But because the qualified immunity defense is available only to Beaupre with respect to the claims
      brought against him in his individual capacity, see Brandon v. Holt, 469 U.S. 464, 472-73 (1985);
      Walden v. City of Providence, 596 F.3d 38, 55 (1st Cir. 2010), the denial of qualified immunity
      with respect to the claims brought against Beaupre in his individual capacity is the only potential
      basis for appeal; we lack jurisdiction to review the denial of summary judgment with respect to
      the claims against Beaupre in his official capacity or the municipal claim against the City.
Case: Case
      21-1135    Document: 00117824768
           2:16-cv-00053-LEW             Page:
                               Document 181    2 12/23/21
                                            Filed Date Filed: 12/22/2021
                                                           Page            Entry#:ID:
                                                                 2 of 2 PageID        6467366
                                                                                   1577




              We also lack jurisdiction to "review, on interlocutory appeal, an order denying qualified
      immunity 'to the extent that [the order] turns on either an issue of fact or an issue perceived by the
      trial court to be an issue of fact,'" McKenney v. Mangino, 873 F.3d 75, 80 (1st Cir. 2017) (quoting
      Stella v. Kelley, 63 F.3d 71, 74 (1st Cir. 1995)); we have jurisdiction to review such a ruling "only
      insofar as the appeal rests on legal, rather than factual grounds." Cady v. Walsh, 753 F.3d 348, 350
      (1st Cir. 2014) (citing Johnson v. Jones, 515 U.S. 304, 313 (1995)). Appellants frame the issue
      they seek to appeal as a legal question, arguing that the district court's decision is reviewable to
      the extent it determined that the facts construed in the light most favorable to plaintiff set forth a
      basis for supervisory liability under the law clearly established in the late 1980s. But while they
      acknowledge that they must accept plaintiff's version of the facts as true for purposes of summary
      judgment and appeal, they fail to do so. Instead, appellants argue, as they did below, that it was
      not clearly established in the late 1980s that Beaupre's after-the-fact referral of plaintiff's report of
      alleged sexual abuse by a BPD officer report to outside authorities for investigation was inadequate
      in the circumstances. This argument ignores factual allegations central to plaintiff's claim of
      supervisory liability, including that Beaupre had received prior reports of sexual abuse and failed
      to act. Appellants do not argue that the sexual abuse alleged did not amount to a constitutional
      violation, nor do they argue that it was not clearly established in the late 1980s that a supervisor
      would be liable for failing to take any action in response to reports of a subordinate's sexual abuse
      of a minor. Because appellants' "legal" argument appears to ignore or dispute facts central to
      plaintiff's claim of supervisory liability, they fail to establish a basis for interlocutory appellate
      jurisdiction. Accordingly, the appeal is dismissed.


                                                              By the Court:

                                                              Maria R. Hamilton, Clerk


      cc:
      Gene R. Libby
      Tyler Justin Smith
      Timothy Joseph Bryant
      Jonathan George Mermin
      Keith R. Jacques
      Walter F. McKee
      Matthew D. Morgan
      Kurt Peterson
